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   7                                UNITED STATES DISTRICT COURT

   8                               CENTRAL DISTRICT OF CALIFORNIA

   9
       ALVARO ACEVEDO, et al.,                            Case No. 2:21-CV-07810-FMO-JPR
  10
                     Plaintiffs,
  11                                                      ORDER TO DISMISS INDIVIDUAL
             v.                                           DEFENDANTS AND REMAND ACTION
  12                                                      TO LOS ANGELES SUPERIOR COURT
     SWIFT TRANSPORTATION CO. OF
  13 ARIZONA, LLC, et al.,
                                                          [Complaint Filed:      October 2, 2020]
  14                 Defendants.                          Trial Date:            None

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  17        Pursuant to the stipulation of the parties, and good cause appearing therefore, IT IS
  18 HEREBY ORDERED AS FOLLOWS:
  19              1. Defendants Charles John Rogers and Christopher Brock are dismissed with
  20                 prejudice.
  21              2. To the extent necessary to effectuate dismissal with prejudice of Brock and Rogers,
  22                 Counsel for Swift and IEL may file the signed request for dismissal attached to the
  23                 concurrently filed stipulation in the Los Angeles Superior Court following remand.
  24              3. Plaintiffs and their counsel shall take all reasonable and necessary steps to
  25                 effectuate dismissal with prejudice of Rogers and Brock in the Los Angeles
  26                 Superior Court upon remand.
  27              4. The Los Angeles Superior Court will be the place of venue for this action, and
  28                 Swift and IEL shall not make any future efforts to move this case to another venue.

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       SMRH:4874-4091-1361.2                                                                         ORDER
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   1           5. If, and only if, Swift or IEL join another party to this case that has the right to

   2              remove on the basis of diversity jurisdiction, the dismissed claims against Rodgers

   3              and Brock may be reinstated as though the claims were never dismissed.

   4           6. This Action is remanded to Los Angeles Superior Court. The Clerk shall send a

   5              certified copy of this Order to the state court.

   6           7. The Parties are to bear their own fees and costs with the respect to these federal

   7              proceedings.

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   9 DATED: November 2, 2021
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                                                                     /s/
  11
                                               THE HONORABLE FERNANDO M. OLGUIN
  12                                           UNITED STATES DISTRICT JUDGE
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       SMRH:4874-4091-1361.2                                                                      ORDER
